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                                 CERTIFICATE OF SERVICE

       Joseph H. Huston, Jr., hereby certifies that on December 16, 2014, he caused true and

correct copies of the foregoing Application for an Order Approving the Employment of Cravath,

Swaine & Moore LLP as Counsel to Energy Future Intermediate Holding Company LLC Under

Sections 327(e) and 1107(b) of the Bankruptcy Code, Effective Nunc Pro Tunc to November 16,

2014 to be served electronically through the Court’s CM/ECF system, and also through the

Debtors’ claims and noticing agent upon all parties requesting or otherwise entitled to notice.


                                                             /s/ Joseph H. Huston, Jr.
                                                             Joseph H. Huston, Jr.




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